                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          Case No. 1:23-cv-00423-WO-JLW


TIMIA CHAPLIN; SARAH FIELDS;
SAYELINE NUNEZ; THOMAS HAYWARD;
KEVIN SPRUILL; ROTESHA MCNEIL;
QIANA ROBERTSON; YOUSEF JALLAL;
MESSIEJAH BRADLEY; DENNIS KEITH
LASSITER; PAULINO CASTELLANOS;
ROBERT LEWIS; and ALLEN SIFFORD, on               SECOND AMENDED COMPLAINT –
behalf of themselves and all others similarly            CLASS ACTION
situated,
                                                     JURY TRIAL DEMANDED
                             Plaintiffs,

       v.

GARY L. MCFADDEN, officially, as the
Sheriff of Mecklenburg County; JOHN DOE
SURETY, as surety for the Sheriff of
Mecklenburg County; WILLIE R. ROWE,
officially, as the Sheriff of Wake County;
BRIAN ESTES, officially, as the Sheriff of Lee
County; THE OHIO CASUALTY
INSURANCE COMPANY, as surety for the
Sheriffs of Wake County and Lee County;
TYLER TECHNOLOGIES, INC; RYAN
BOYCE, officially, as the Executive Director of
the North Carolina Administrative Office of the
Courts; BRAD FOWLER, officially, as the
eCourts Executive Sponsor and Chief Business
Officer of the North Carolina Administrative
Office of the Courts; ELISA CHINN-GARY,
individually and officially, as the Mecklenburg
County Clerk of Superior Court; BLAIR
WILLIAMS, individually and officially, as the
Wake County Clerk of Superior Court; SUSIE
K. THOMAS, individually and officially, as the
Lee County Clerk of Superior Court; and DOES
1 THROUGH 20, INCLUSIVE,

                             Defendants.




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                                 I.      NATURE OF THE CASE

        1.      As North Carolina transitions its court systems from paper to digital, hundreds of

people have been unlawfully detained.

        2.      There is broad support for modernizing the state’s court system. But the rollout of

“eCourts” across the state has been at the expense of North Carolinians’ constitutional and other

legal rights.

        3.      As detailed herein, the eCourts launch has caused people to spend days or weeks

longer than necessary in jail. Others have been arrested multiple times on the same warrant—

even after their charges have been dismissed by a judge.

        4.      These and other violations were foreseeable. Over the last decade, similar

software implementations by Defendant Tyler Technologies, Inc. (“Tyler Technologies”) led to

well-documented cases of overdetention, wrongful arrest, and the like. Defendants were aware

that the same thing could happen here. But they forged ahead without any failsafe or alternative

in place.

        5.      Defendants even continued the rollout and adoption of eCourts after they were

made aware that violations had occurred and would continue, evidencing reckless and intentional

disregard for the rights of our state’s citizenry.

        6.      This class action seeks to remedy past harms and—as eCourts is soon expected to

be fully implemented in North Carolina’s remaining counties—prevent future violations.




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                                     II.      JURISDICTION

        7.      This Court has original subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1343(a) because the claims asserted by Plaintiffs arise under the laws of the United States

and seek redress for rights guaranteed by the United States Constitution and deprived under color

of state law.

        8.      Plaintiff further invokes this Court’s supplemental jurisdiction pursuant to 28

U.S.C. § 1367 over any and all North Carolina state law claims and causes of action which

derive from the same nucleus of operative facts and are part of the same case or controversy that

gives rise to the federally based claims and causes of action.

        9.      This Court also has subject-matter jurisdiction over claims asserted by Plaintiffs

and the Class pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because

this is a class action filed on behalf of a North Carolina statewide class under Rule 23 of the

Federal Rules of Civil Procedure; there are likely hundreds of proposed class members; the

aggregate amount in controversy exceeds $5,000,000, exclusive of interest and costs; and at least

one member of the class of plaintiffs is a citizen of a state different from that of Defendant Tyler

Technologies, Inc.

        10.     Pursuant to Rule 4 of the Federal Rules of Civil Procedure, personal jurisdiction

over Defendant Tyler Technologies, Inc., is conferred upon and vested in this Court by virtue of

N.C. Gen. Stat. § 1-75.4(1)(d), as Tyler Technologies is engaged in substantial activity within

North Carolina.

                                           III.   VENUE

        11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391.




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                                        IV.     PARTIES

       12.     Defendant Gary L. McFadden (“Sheriff McFadden”) is the elected Sheriff of

Mecklenburg County, North Carolina, and is sued in his official capacity as the Sheriff of

Mecklenburg County.

       13.     Defendant Sheriff McFadden is charged by statute with control and operation of

the Mecklenburg County Sheriff’s Office, including policymaking, training and supervision

relating to the employees of the Mecklenburg County Sheriff’s Office.

       14.     Defendant Sheriff McFadden is further responsible for the care and custody of

Mecklenburg County’s detention facilities.

       15.     Upon information and belief, Defendant Sheriff McFadden oversees the Courts

division of the Mecklenburg County Sheriff’s Office. Upon information and belief, the Courts

Division is tasked with protecting the Mecklenburg County Courthouse and is responsible for

ensuring that court papers are properly issued and that court cases are processed efficiently.

       16.     Upon information and belief, Defendant Sheriff McFadden also oversees the

Arrest Processing division of the Mecklenburg County Sheriff’s Office. This division operates

the Arrest Processing Center, which is the centralized entry point for all persons arrested in

Mecklenburg County by any law enforcement agency. This division also operates the

Mecklenburg County Warrant Repository, which warehouses all orders for arrest, warrants, and

restraining orders issued in Mecklenburg County.

       17.     Defendant Sheriff McFadden, through Mecklenburg County, had, at the time of

Plaintiffs’ unlawful detentions, waived governmental or sovereign immunity from the state law

tort claims in this case pursuant to N.C.G.S. § 153A-435, either by participating in a government

risk pool or through purchasing commercial insurance that will indemnify him and his agents for

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any judgment against him or his agents named in this action. Defendant Sheriff McFadden has

also waived immunity for the independent reason that he purchased an official bond.

       18.     Defendant Willie R. Rowe (“Sheriff Rowe”) is the elected Sheriff of Wake

County, North Carolina, and is sued in his official capacity as the Sheriff of Wake County.

       19.     Defendant Sheriff Rowe is charged by statute with control and operation of the

Wake County Sheriff’s Office, including policymaking, training and supervision relating to the

employees of the Wake County Sheriff’s Office.

       20.     Defendant Sheriff Rowe is further responsible for the care and custody of Wake

County’s detention facilities. The Wake County Sheriff’s Office Detention Division manages

two detention facilities which house adult detainees in Wake County. The Wake County

Detention Center is located at 3301 Hammond Road, approximately halfway between the cities

of Raleigh and Garner. The second facility is located at the John H. Baker Jr. Public Safety

Center at 330 South Salisbury Street in downtown Raleigh.

       21.     Defendant Sheriff Rowe oversees the Judicial Services division of the Wake

County Sheriff’s Office. The Judicial Services Division is tasked with protecting the Wake

County Justice Center and Courthouse and is responsible for ensuring that court papers are

properly issued and that court cases are processed efficiently.

       22.     The Judicial Services Division also houses the Warrant unit. This unit is

responsible for all criminal process including the issuance of criminal warrants. This unit also

processes judicial orders pertaining to criminal summons, restraining orders and warrant

services.

       23.     Defendant Sheriff Rowe, through Wake County, had, at the time of Plaintiffs’

unlawful detentions, waived governmental or sovereign immunity from the state law tort claims

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in this case pursuant to N.C.G.S. § 153A-435, either by participating in a government risk pool

or through purchasing commercial insurance that will indemnify him and his agents for any

judgment against him or his agents named in this action. Defendant Sheriff Rowe has also

waived immunity for the independent reason that he purchased an official bond.

        24.    Defendant Brian Estes (“Sheriff Estes”) is the elected Sheriff of Lee County,

North Carolina, and is sued in his official capacity as the Sheriff of Lee County.

        25.    Defendant Sheriff Estes is charged by statute with control and operation of the

Lee County Sheriff’s Office, including policymaking, training and supervision relating to the

employees of the Lee County Sheriff’s Office.

        26.    Defendant Sheriff Estes is further responsible for the care and custody of Lee

County’s detention facilities.

        27.    Upon information and belief, Defendant Sheriff Estes oversees the Judicial

Services division of the Lee County Sheriff’s Office. Upon information and belief, the Judicial

Services Division is tasked with protecting the Lee County Justice Center and Courthouse and is

responsible for ensuring that court papers are properly issued and that court cases are processed

efficiently.

        28.    Upon information and belief, the Judicial Services Division also houses the

Warrant unit. This unit is responsible for all criminal process including the issuance of criminal

warrants. This unit also processes judicial orders pertaining to criminal summons, restraining

orders and warrant services.

        29.    Defendant Sheriff Estes, through Lee County, had, at the time of Plaintiffs’

unlawful detentions, waived governmental or sovereign immunity from the state law tort claims

in this case pursuant to N.C.G.S. § 153A-435, either by participating in a government risk pool

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or through purchasing commercial insurance that will indemnify him and his agents for any

judgment against him or his agents named in this action. Defendant Sheriff Estes has also waived

immunity for the independent reason that he purchased an official bond.

        30.     Defendant John Doe Surety, as surety for the Sheriff of Mecklenburg County, is

named as a party to this action as the entity from whom Defendant Sheriff McFadden purchased

a surety bond pursuant to N.C.G.S. §§ 58-76-5 and 162-8. Because Sheriff McFadden is covered

by this surety bond, he has waived immunity.

        31.     Defendant The Ohio Casualty Insurance Company, as surety for the Sheriff of

Wake County and as surety for the Sheriff of Lee County, is named as a party to this action as

the entity from whom Defendant Sheriff Rowe and Defendant Sheriff Estes purchased their

respective surety bonds pursuant to N.C.G.S. §§ 58-76-5 and 162-8. Because Sheriff Rowe and

Sheriff Estes are covered by surety bonds, they both have waived immunity.

        32.     Defendant Tyler Technologies, Inc., is a corporation organized under the laws of

Delaware, with its principal place of business located at 5101 Tennyson Parkway, Plano, Texas

75024. Defendant Tyler Technologies, Inc. is a citizen of Texas.

        33.     Defendant Ryan Boyce (“Director Boyce”) is the Executive Director of the North

Carolina Administrative Office of the Courts (“NCAOC”). Defendant Director Boyce is sued in

his official capacity.

        34.     Defendant Brad Fowler is employed as the eCourts Executive Sponsor and Chief

Business Officer of the North Carolina Administrative Office of the Courts. Defendant Fowler is

sued in his official capacity.

        35.     Elisa Chinn-Gary (“Clerk Chinn-Gary”) is the elected Mecklenburg County Clerk

of Superior Court. Clerk Chinn-Gary is sued in both her individual and official capacities.

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       36.     Blair Williams (“Clerk Williams”) is the elected Wake County Clerk of Superior

Court. Clerk Williams is sued in both his individual and official capacities.

       37.     Susie K. Thomas (“Clerk Thomas”) is the elected Lee County Clerk of Superior

Court. Clerk Thomas is sued in both her individual and official capacities.

       38.     All named Plaintiffs are domiciled in North Carolina.

       39.     Named Plaintiff Sarah Fields is a resident of Mecklenburg County.

       40.     Named Plaintiff Sayeline Nunez is a resident of the Bronx, New York.

       41.     Named Plaintiff Thomas Hayward is a resident of Mecklenburg County.

       42.     Named Plaintiff Kevin Spruill is a resident of Wake County.

       43.     Named Plaintiff Timia Chaplin is a resident of Wake County.

       44.     Named Plaintiff Rotesha McNeil is a resident of Wake County.

       45.     Named Plaintiff Qiana Robertson is a resident of Wake County.

       46.     Named Plaintiff Yousef Jallal is a resident of Wake County.

       47.     Named Plaintiff Messiejah Bradley is a resident of Wake County.

       48.     Named Plaintiff Dennis Keith Lassiter is a resident of Harnett County.

       49.     Named Plaintiff Paulino Castellanos is a resident of Lee County.

       50.     Named Plaintiff Robert Lewis is a resident of Guilford County.

       51.     Named Plaintiff Allen Sifford is a resident of Mecklenburg County.

                              V.      FACTUAL BACKGROUND

A.     North Carolina looks to modernize its antiquated court system.

       52.     Well into the digital age, North Carolina’s courts were stuck in the past.

       53.     Back in 1996, the state’s courts were deemed “at least 10-15 years behind in the

use of information technology.” See Commission for the Future of Justice and the Courts in

                                                 8




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North Carolina, Without Favor, Denial or Delay: A Court System for the 21st Century 57 (Dec.

1996), bit.ly/44lAbjx.

       54.     Everything depended on paper. In most counties, “thick manila files [were]

moved from place to place, with information manually added time and again.” Id. There were

“multiple opportunities for error” and “few for the useful exchange of information.” Id. Citizens

viewed the courts “as slow and inefficient.” Id. And lawyers of all stripes longed for “the tools

they need[ed] to do their jobs better.” Id.

       55.     Two decades later, little had changed. The federal courts had long-since

implemented digital filing and recordkeeping. But in North Carolina, modernization efforts were

piecemeal. And those technologies that were adopted soon “aged to the point that the skills

required to maintain them ha[d] become scarce.” NCCALJ Technology Committee, eCourts

Strategic Technology Plan 1 (Sept. 29, 2016), bit.ly/3VdYeMV (a true and correct copy is

attached hereto as Exhibit A).

       56.     So in September 2015, Chief Justice Mark Martin convened the North Carolina

Commission on the Administration of Law and Justice (the “Commission”).

       57.     The Commission was asked to review North Carolina’s court system and make

recommendations for its improvement, including by way of technology.

       58.     By that time, many of North Carolina’s peer states had deployed Integrated Case

Management Systems (“ICMS”)—single-source, digital applications used to manage all aspects

of court administration.

       59.     Based on its review, the Commission advised that North Carolina’s court system

likewise adopt an ICMS. Specifically, the Commission recommended procuring an ICMS that

would, among other capabilities:

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               a.      enable fully electronic case processing “from initiation through dismissal”;

               b.      move the state’s courts away from paper recordkeeping; and

               c.      operate seamlessly with secondary applications used for warrants and

                       other criminal processes. See id. at 25-26 (Exhibit A).

       60.     The Commission concluded its work in July 2017.

       61.     Then, in early March 2018, the North Carolina Administrative Office of the

Courts (“NCAOC”) announced that the state’s Judicial Branch would partner with the National

Center for State Courts to draft a Request for Proposal (“RFP”) for an ICMS.

       62.     Between March and May 2018, the RFP team held meetings across the state with

clerks, judges, magistrates, sheriffs, chiefs of police, attorneys, and other stakeholders.

       63.     Based on those meetings, the team developed a “final RFP” document, which

included more than 300 pages of detailed business and technical requirements for any ICMS.

       64.     The finalized RFP was posted to the public in August 2018, with vendor

submissions due in October 2018.

       65.     On information and belief, at least seven vendors submitted proposals in response

to the RFP.

       66.     After the submission deadline, and through November 2018, a Vendor Selection

Committee (the “Selection Committee”) evaluated the proposals.

       67.     Finalist vendors were invited to give demonstrations to the Selection Committee

in December 2018.

       68.     The Selection Committee ultimately recommended that NCAOC partner with

Defendant Tyler Technologies to implement an ICMS.




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       69.     In doing so, however, the Selection Committee advised NCAOC to investigate

certain legal claims against and involving Tyler Technologies before making any binding

commitments.

B.     NCAOC contracts with Tyler Technologies for an ICMS and other software
       applications.

       70.     On June 7, 2019, NCAOC Interim Director McKinley Wooten signed a $100

million contract with Tyler Technologies for a package of new software applications.1 The

package is referred to as “eCourts.”

       71.     Under the terms of the contract, Tyler Technologies agreed to:

               a.     develop eWarrants—an online warrant repository bespoke to North

                      Carolina;

               b.     implement an ICMS—known by the shorthand “Odyssey”—that would

                      allow courts to electronically process and manage all case types;

               c.     host its software in the cloud, thereby allowing NCAOC to retire its own

                      mainframe; and

               d.     respond to incidents and timely resolve defects in its systems.

       72.     The contract stated that “Tyler warrants that the Tyler Software [eCourts] will

perform without Defects during the [contract] term.” See Exhibit B at 17 (subsection (e)).

       73.     The contract anticipated that the configuration and statewide rollout of eCourts

will take approximately five years.




1
 A copy of the “top sheet” portion of the contract is attached hereto as Exhibit B (redactions
were in original).
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       74.     eWarrants was implemented statewide in July 2022, prior to the adoption of

Odyssey. eWarrants was intended to maintain detailed information about magistrate and other

judicial orders, criminal summonses, orders for arrest, release orders and appearance bonds. But

problems with eWarrants delayed the statewide launch date by more than a year. As the

Mecklenburg County chief information officer stated publicly, “Tyler Technologies continued to

struggle with several defects pushing the [launch] date for eWarrants back.” Michelle Boudin,

‘It’s kind of like the rapture’; Concerns ahead of changes at the courts, WCNC Charlotte (Feb.

8, 2023), https://bit.ly/3QJiFkt.

       75.     Odyssey has been rolled out in stages, beginning with four “pilot counties” and to

be followed by all other counties in grouped “tracks/phases.” The four pilot counties were: Wake

County, Lee County, Harnett County, and Johnston County. A fifth county, Mecklenburg,

launched eCourts on October 9, 2023.

       76.     By rule, when Odyssey is implemented in any given county, attorneys must file

pleadings and other documents through Odyssey. There is no exception to this requirement. And

barring “exceptional circumstances,” courts must sign and file orders, judgments, decrees, and

other documents through Odyssey. See General Rules of Practice for the Superior and District

Courts, Rules 5(b)(2), (8) (codified Feb. 13, 2023), bit.ly/3omanDs.

C.     eCourts launches in four pilot counties—and is quickly found defective.

       77.     After several delays, eCourts launched in the pilot counties of Wake, Lee,

Harnett, and Johnston on February 13, 2023.

       78.     Judges and court staff—who worked diligently to prepare for the transition—

expressed serious reservations before the launch.




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       79.     To assuage their concerns, Chief Justice Newby circulated an email on February

10, 2023. “Obedience is ours,” he wrote, but “outcomes belong to the Lord.” Travis Fain and

Matt Talhelm, Judicial officials call for patience, prayers as electronic court filing system

launches, WRAL (Feb. 16, 2023), bit.ly/3N7y9Ny.

       80.     And on February 16, 2023, then-NCAOC Director Andrew Heath characterized

the launch as “squarely within the bounds of what [he] would consider a successful rollout.” Id.

       81.     However, it soon became clear that eCourts was besieged by defects.

       82.     Between February 13, 2023 and April 21, 2023, NCAOC logged (and reported to

Tyler Technologies) more than 573 software application defects. The defects ranged “from

minor configuration issues to errors within application processes that cause significant system

latency.” Ryan Boyce, Letter in Response to Representative Reives 3-4 (April 21, 2023). A true

and correct copy of Mr. Boyce’s letter is attached hereto as Exhibit C.

       83.     NCAOC also identified “several high priority defects that must be resolved prior

to further expansion.” Id. (Exhibit C).

       84.     Issues with eCourts were so significant that Harnett County suspended nearly all

district court proceedings for a week.

       85.     In June of 2023, nearly five months into the eCourts rollout, NCAOC staff held a

meeting to discuss an “Urgent Warrant Resets Correction.”

       86.     Internal NCAOC email correspondence shows that release orders for 179 warrants

were “inadvertently deleted,” leaving them in an unserved status.

       87.     This meant that individuals who had cleared warrants, or posted bond and been

released from jail, were now subject to re-arrest.




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D.     eCourts expands into Mecklenburg County.

       88.     In light of these problems, the next phase of the eCourts rollout—into

Mecklenburg County—was delayed several times, purportedly until proposed “resolutions” to

system defects could be “validated.” Id. (Exhibit C).

       89.     But eventually, eCourts launched in Mecklenburg County on October 9, 2023.

       90.     Even with the benefit of the Pilot Counties’ experiences, issues remain.

       91.     For example, a known “integration issue” between eWarrants and Odyssey has

caused many criminal defendants to be “held in custody despite meeting the conditions of

release.” Indeed, since October 13, 2023, Tyler Technologies has provided NCAOC with a

“daily report of integration failures,” which clerks and magistrates must then manually correct.

See Honorable Elizabeth Thornton Trosch, Chief District Court Judge, Email regarding

Procedure for Reconciling Bond Update Discrepancies Between eWarrants and Odyssey (Oct.

17, 2023). A true and correct copy of Chief Judge Trosch’s email is attached as Exhibit D.

       92.     During the first four days following the launch of eCourts in Mecklenburg

County, and due to these technological defects, approximately 66 people were detained well

beyond the point their conditions of release were satisfied. Prior to eCourts, it would take

anywhere from 2-4 hours for a detainee in Mecklenburg County to be released; but after eCourts,

some people were held for 2-3 days despite having satisfied all conditions imposed on them by

the justice system.




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E.      Problems with eCourts were foreseeable, but Defendants moved forward anyway.

        93.     The impact of these defects is still being understood.

        94.     But already—and as Plaintiffs’ experiences demonstrate—due to the eCourts

transition, some individuals are spending days or weeks longer than necessary in jail, in violation

of their legal rights.

        95.     Other individuals have been arrested multiple times on the same warrant—

sometimes even after their charges have been dismissed by a judge.

        96.     Still others have been denied the opportunity to post bond by virtue of being in an

Odyssey county.

        97.     These harms were foreseeable:

                a.       In 2011, Ector County, Texas experienced significant problems during its

                         Odyssey rollout. The defects were so significant that the county withheld

                         payment from Tyler Technologies.

                b.       That same year, Merced County, California experienced a breakdown in

                         communications between its criminal court and its jail after adopting

                         Odyssey.

                c.       In 2014, Cameron County, Texas struggled to track inmates in its jails

                         after transitioning to Odyssey.

                d.       In 2016, public defenders in Alameda County, California identified dozens

                         of cases in which individuals had been wrongfully arrested; detained when

                         they should have been released; or incorrectly told that they should

                         register as sex offenders. The problems were so significant that Alameda

                         opted not to use Odyssey for its civil, probate, or family matters. See

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                       Elizabeth Joh, Wrongful arrest by software, Slate (Dec. 13, 2016),

                       bit.ly/40vAJjn.

               e.      Likewise, a 2016 class action against Shelby County, Tennessee officials,

                       Tyler Technologies, and others alleged that a transition to Odyssey led to

                       overdetention, wrongful arrest, and other harms. That case, which was

                       pending during North Carolina’s RFP process, settled in 2021 for a

                       significant sum.

               f.      In 2021, Lubbock County, Texas officials admitted that the county’s

                       switch to Odyssey had caused people to be detained longer than necessary.

                       Camelia Juarez, Indigent clients held in jail without charges during

                       Lubbock County software transition, KCBD-11 (Nov. 11, 2021),

                       bit.ly/44leWxW.

               g.      And last year—just months before eCourts launched in North Carolina—

                       Marion County, Indiana settled a class action after its sheriff acquired a

                       jail-management software that was incompatible with Odyssey. The

                       software mismatch allegedly caused more than 13,400 individuals to be

                       detained for more than 12 hours after the entry of a release order or the

                       payment of a bond.

       98.     Based on the above, Defendants knew or should have known that, if implemented

without due care, eCourts could lead to unlawful detentions and unlawful arrests, among other

violations of North Carolinians’ constitutional and other legal rights.




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       99.     Nonetheless, Defendants hastily forged ahead with the eCourts roll-out—insisting

that attorneys, judges, and court staff utilize the software even as defects were known and should

have been known.

       100.    The named Plaintiffs’ experiences show how “minor configuration issues” can

have real consequences.

                                 Mecklenburg County Plaintiffs

F.     Plaintiff Sarah Fields

       101.    On October 7, 2023, Sarah Fields was arrested.

       102.    Ms. Fields was held on bond at the Mecklenburg County Detention Center

(“MCDC”).

       103.    On October 9, 2023, Ms. Fields was taken to the Mecklenburg County

Courthouse.

       104.    At approximately 12:00 PM, a district court judge ordered her released on an

unsecured bond.

       105.    Ms. Fields was returned to a holding cell at the MCDC for processing and

release.

       106.    Ms. Fields was held overnight and was not released until the next day, October

10, 2024, at approximately 1:30 PM.

       107.    Ms. Fields was detained for approximately 25.5 hours after the time she was

ordered released.

       108.    Ms. Fields’ overdetention was caused by Defendants’ adoption and

implementation of eCourts, including an integration defect between Odyssey and eWarrants.




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G.     Plaintiff Sayeline Nunez

       109.   On October 9, 2023, Sayeline Nunez was arrested.

       110.   Ms. Nunez was held on bond at the MCDC.

       111.   On October 10, 2023, Ms. Nunez was taken to the Mecklenburg County

Courthouse.

       112.   At approximately 11:00 AM, a district court judge ordered her released on an

unsecured bond.

       113.    Ms. Nunez was returned to a holding cell at the MCDC for processing and

release.

       114.   Ms. Nunez was held overnight and was not released until the next day, October

11, 2024, at approximately 1:30 PM.

       115.   Ms. Nunez was detained for approximately 26.5 hours after the time she was

ordered released.

       116.   Ms. Nunez’s overdetention was caused by Defendants’ adoption and

implementation of eCourts, including an integration defect between Odyssey and eWarrants.

H.     Plaintiff Thomas Hayward

       117.   On December 2, 2023, Thomas Hayward was arrested.

       118.   Mr. Hayward was held without bond at the MCDC.

       119.   On December 4, 2023, Mr. Hayward was taken to the Mecklenburg County

Courthouse.

       120.   At approximately 10:00 AM, a district court judge ordered that Mr. Hayward

would be released if he posted a $2,500 bond.

       121.   Mr. Hayward posted bond at approximately 1:00 PM that same day.

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       122.     Mr. Hayward was returned to a holding cell at the MCDC for processing and

release.

       123.     Mr. Hayward was held overnight and was not released until the next day,

December 5, 2024, at approximately 3:41 AM.

       124.     Mr. Hayward was detained for approximately 14.5 hours after the time he posted

bond securing his release.

       125.     Mr. Haywards’ overdetention was caused by Defendants’ adoption and

implementation of eCourts, including an integration defect between Odyssey and eWarrants.

                                      Wake County Plaintiffs

I.     Plaintiff Kevin Spruill

       126.     Kevin Spruill was arrested pursuant to a warrant on February 11, 2023, for

allegedly obtaining property under false pretenses.

       127.     He appeared before a Wake County judge on February 15, 2023, and posted bond.

       128.     Nevertheless, the warrant for his arrest remained as marked “active” in eWarrants.

       129.     On March 4, 2023, a Wake County police officer saw the warrant and pulled Mr.

Spruill over.

       130.     Mr. Spruill was handcuffed and held in the officer’s car.

       131.     Mr. Spruill produced his release paperwork, which proved that the warrant was no

longer valid.

       132.     The officer contacted the Wake County Sheriff’s Office to update the system and

confirm the warrant was not valid.

       133.     The officer then released Mr. Spruill.




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        134.   When Mr. Spruill appeared for his next court date on March 8, 2023, however, he

was arrested again on the same warrant by a deputy from the Wake County Sheriff’s

Department.

        135.   Mr. Spruill was shackled and placed in a holding cell based on the purportedly

active warrant despite the fact that the warrant had been resolved, as reported by the police

officer to the Wake County Sheriff’s Department.

        136.   Mr. Spruill again provided his release paperwork to prove that his warrant was

cleared.

        137.   Mr. Spruill was released once his file was reviewed by the Wake County Sheriff’s

Office and the Wake County Clerk of Court and updated in eCourts.

        138.   After being unlawfully detained twice, Mr. Spruill’s charges were dismissed.

J.      Plaintiff Timia Chaplin

        139.   On November 23, 2022, Timia Chaplin was criminally charged in Wake County.

        140.   On December 13, 2022, Ms. Chaplin was called to Wake County district court,

but failed to appear. The district court then issued a warrant for failure to appear.

        141.   On March 4, 2023, Ms. Chaplin was arrested for failing to appear and released on

bond.

        142.   On March 16, 2023, Ms. Chaplin was present for a rescheduled court date and

appeared in district court. During the hearing, the charges against her were dismissed including

the warrant for failure to appear. Her case was designated in Odyssey as “resolved.”

        143.   However, on April 9, 2023, Ms. Chaplin was arrested a second time on the same

failure-to-appear warrant, even though her case had been dismissed.




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       144.    Ms. Chaplin was rearrested because, although her case had been “resolved,”

Odyssey did not communicate that resolution to eWarrants, in contravention of the software’s

intended design. As a result, an arrest warrant remained outstanding for Ms. Chaplin nearly a

month after her case had been dismissed. Had Odyssey properly communicated to eWarrants that

Ms. Chaplin’s warrant was resolved and no longer outstanding—or if the arresting officer were

properly trained on where to learn this fact—the arresting officer would not have detained Ms.

Chaplin.

       145.    Ms. Chaplin still does not know for sure whether the warrant has been fully

expunged from eWarrants and related systems.

       146.    In fact, on or about April 17, 2023, Ms. Chaplin was subject to a traffic stop for

an unrelated violation. During this stop she asked the officer to check whether any warrants

remained outstanding against her. The officer investigated and informed her that the original

warrant was still active.

K.     Plaintiff Rotesha McNeil

       147.    In July 2021, Rotesha McNeil received a citation for driving with a suspended

license in Wake County.

       148.    On August 11, 2022, a Wake County arrest warrant was issued for Ms. McNeil

due to her alleged “failure to appear.”

       149.    On September 12, 2022, Ms. McNeil pled guilty to driving with a suspended

license and paid a fine and restitution.

       150.    On that same date, the Court noted that the “failure to appear” was entered in

error and was stricken.

       151.    Odyssey reflects that Ms. McNeil’s case was “disposed” on September 12, 2022.

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       152.    Yet on May 29, 2023, Ms. McNeil was arrested by a Sheriff’s Deputy with the

Johnston County Sheriff’s Office (“JCSO”) on the August 11, 2022 failure-to-appear warrant

which had been stricken.

       153.    Ms. McNeil informed the deputy that her charges had been resolved and that, as a

result, she had no pending warrant.

       154.    The JCSO deputy contacted the Wake County Sheriff’s Office. An employee of

the Wake County Sheriff’s Office informed the deputy that the warrant was valid.

       155.    As a result, Ms. McNeil was detained for approximately 5 hours until her release

on a $1,000.00 bond.

       156.    After her release, on May 30, 2023, Ms. McNeil visited the Wake County Court

to determine the cause for her wrongful arrest and detention.

       157.    Ms. McNeil met with an employee of the Wake County Clerk of Court who

apologized to Ms. McNeil and explained that the failure to appear warrant should have been

recalled from the electronic system.

       158.    The employee explained that the Wake County Clerk would “escalate” the issue

of clearing stale and invalid warrants from Odyssey and eWarrants, but that the employee had no

idea if all such warrants had been removed.

       159.    A few days later, Defendant Wake County Clerk of Court Blair Williams offered

Ms. McNeil (through her husband, Jermaine McNeil, who was negotiating on her behalf)

$300.00 to resolve all claims against Clerk Williams, his employees, NCAOC, and the State of

North Carolina. A screenshot of that release follows:




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L.      Plaintiff Qiana Robertson

        160.    On February 11, 2023, Qiana Robertson was arrested in Wake County on

suspicion of driving while impaired.

        161.    Ms. Robertson was assigned a first appearance date of March 3, 2023.

        162.    Her case was continued to June 26, 2023—a fact reflected in Odyssey, in her

attorney’s files, and in the District Attorney’s files.

        163.    Inexplicably, however, Ms. Robertson’s court date was moved to May 5, 2023.

        164.    Odyssey indicates that the date was “Reset by Court.” But no one in the Wake

County Clerk’s Office or the District Attorney’s Office has been able to explain how the date

change occurred.

        165.    Neither Ms. Robertson nor her attorney were given notice of the date change.

        166.    As a result, Ms. Robertson was called and failed to appear on May 5, 2023.

        167.    An order for arrest was issued for Ms. Robertson’s failure to appear. She was

arrested on June 11, 2023, and transported to the Wake County Detention Center.

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        168.      Ms. Robertson was made to pay a $2,000.00 bond to secure her release.

        169.      Her case was dismissed on double-jeopardy grounds.

M.      Plaintiff Yousef Jallal

        170.      On January 12, 2023, Yousef Jallal was issued a citation for misdemeanor

possession of marijuana.

        171.      On June 6, 2023, his case was dismissed.

        172.      However, his case was incorrectly designated as “called and failed.”

        173.      As a result, on July 3, 2023, an order for arrest for “failure to appear” was issued

for Mr. Jallal.

        174.      On August 10, 2023, Mr. Jallal was arrested for failure to appear by a deputy from

the Wake County Sheriff’s Office.

        175.      Mr. Jallal was held at the Wake County Detention Center from approximately

9:00 PM until 3:00 AM when he was released on a $1,000.00 bond.

        176.      On August 11, 2023—without a new court appearance—Odyssey was updated to

indicate that his case was dismissed and disposed.

        177.      The dismissal document was never entered on Odyssey.

N.      Plaintiff Messiejah Bradley

        178.      In August 2022, Messiejah Bradley was arrested for misdemeanor possession of

marijuana in Wake County.

        179.      On July 20, 2023, after successful completion of the first-offender drug diversion

program, his charges were dismissed.

        180.      Mr. Bradley’s dismissal paperwork—although signed by the District Attorney and

submitted to the Court—was never reflected in Odyssey.

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        181.   Odyssey incorrectly marked his case on July 20, 2023, as “called and failed.”

        182.   As a result, on August 29, 2023, an arrest warrant for “failure to appear” was

issued for Mr. Bradley.

        183.   On September 27, 2023, a police officer executed this warrant and arrested Mr.

Bradley.

        184.   Mr. Bradley was held at the Wake County Detention Center for approximately 5

hours before he was released on a $1,000.00 bond.

        185.   On September 28, 2023, Odyssey was updated to indicate that his case was

dismissed. The dismissal was dated July 20, 2023.

O.      Plaintiff Dennis Keith Lassiter

        186.   On March 30, 2023, Dennis Keith Lassiter was arrested and charged in Wake

County. He paid a bond to secure his release.

        187.   Mr. Lassiter was eventually assigned a court date for July 7, 2023. He went to

court that day, answered the roll call and spoke with the Assistant District Attorney assigned to

his case.

        188.   He was told that he would be notified of his next court date. But Mr. Lassiter

never received notice of his next court date.

        189.   In late September 2023, Mr. Lassiter called the Wake County Clerk’s Office to

confirm that his next court date had not yet been scheduled.

        190.   The Clerk’s Office informed him that, while he had no pending court dates,

Odyssey was displaying a “called and failed” for July 7, 2023—again, a date he had been present

in court.




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        191.     Based on that erroneous “called and failed,” a magistrate had ordered that Mr.

Lassiter’s bond be forfeited.

        192.     Nevertheless, the Clerk’s Office assured Mr. Lassiter that no arrest warrant had

been issued in relation to the July 7 “called and failed,” and that he could still move to strike the

notation.

        193.     Despite the Clerk’s Office’s assurances, an arrest warrant had been issued in

relation to the erroneous July 7 “called and failed.”

        194.     On October 19, 2023, a Wake County Sheriff’s deputy executed that warrant,

arrested Mr. Lassiter and took him to the Wake County Detention Center for holding.

        195.     When Mr. Lassiter appeared before a magistrate that same day, he explained that

he had been in court on July 7, and that he had therefore been arrested in error.

        196.     The magistrate refused to release him. In addition to the erroneous “called and

failed” from July 7, Odyssey displayed an outstanding “failure to appear” warrant from Johnston

County.

        197.     The “failure to appear” warrant was from 2001—and had been resolved more than

twenty years prior.

        198.     On information and belief, this 2001 warrant was previously resolved but then

“revived” during the transition to eCourts. Mr. Lassiter spent time in prison for several years

beginning in 2001, completed a term of probation thereafter, and attended mandatory drug

treatment. Yet no prison, probation, or judicial official acknowledged the warrant until his most

recent arrest.




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        199.   Wake County served the 2001 warrant on behalf of Johnston County. On the

“Service without Process” form Mr. Lassiter received, the Wake County magistrate checked the

box next to “Criminal process confirmed via Electronic Warrants and/or Odyssey.”

        200.   Mr. Lassiter was held in jail for more than 36 hours, until he could appear before

a district court judge for a bond hearing. He was released on an unsecured bond.

        201.   Mr. Lassiter’s 2001 “failure-to-appear” charge was dismissed on November 2,

2023.

                                        Lee County Plaintiff

P.      Plaintiff Paulino Castellanos

        202.   Paulino Castellanos suffers from severe arthritis and is often confined to a

wheelchair.

        203.   On February 10, 2023, Mr. Castellanos was arrested in Lee County and held on a

bond that he could not afford to pay.

        204.   Because his disability makes any time in jail exceedingly difficult, counsel for

Mr. Castellanos endeavored to secure his release that same day.

        205.   But Mr. Castellanos’s counsel’s efforts were thwarted. In anticipation of the

February 13, 2023, transition to eCourts, Lee County had already begun digitizing case files.

Court staff informed Mr. Castellanos’s counsel that they had scanned and uploaded his case file

into the eCourts system, but that, nevertheless, his case “could not be located in the system.”

        206.   Because the Defendants had no record of Mr. Castellanos’s case, he was unable to

move for a bond reduction, or pay his active bond, on February 10, 2023.

        207.   On February 13, 2023, Lee County formally transitioned to eCourts.




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        208.    That same day, a formal indictment was issued against Mr. Castellanos in Lee

County Superior Court, which generated a new case number for Mr. Castellanos in Odyssey.

        209.    Although his initial case was still considered “lost,” Mr. Castellanos was able to

move for a bond reduction based on this new case number on February 15, 2023—five days after

his attorney first tried to obtain his release.

        210.    The court granted his motion that afternoon, and ordered that he be released with

electronic monitoring pending trial.

        211.    During his time in jail, Mr. Castellanos was on lockdown for 23 hours a day.

Given his limited mobility, it was nearly impossible for him to meet even his most basic needs,

such as walking from his bunk to retrieve meals left at his cell door.

        212.    Had Defendants exercised due care in the adoption and implementation of

eCourts, Mr. Castellanos could have moved for and received a bond reduction on the day of his

arrest, avoiding spending any longer than a few hours in jail.

                                          Statewide Plaintiffs

Q.      Plaintiff Robert Lewis

        213.    Robert Lewis works as a live-in caretaker for an elderly client in Guilford County.

        214.    In 2016, his client was misled into taking out a restraining order against him. The

restraining order was quickly dissolved.

        215.    In the fall of 2022, however, local law-enforcement officers were called to resolve

an argument between Mr. Lewis and a neighbor.

        216.    Despite having long since been dissolved, the restraining order was visible in

eWarrants. The officers arrested Mr. Lewis for violating the terms of the restraining order,

despite his insistence that the order was no longer operational.

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          217.   Mr. Lewis spent two days in jail before bonding out.

          218.   To avoid another arrest, Mr. Lewis managed his client’s care remotely for several

months—living elsewhere, ordering groceries for delivery, and paying his client’s bills online.

          219.   The District Attorney eventually conceded the error and dismissed Mr. Lewis’s

case.

R.        Plaintiff Allen Sifford

          220.   In August 2009, an arrest warrant was issued for Allen Sifford in Gaston County.

          221.   The warrant was never served.

          222.   In September 2022, Mr. Sifford applied for a commercial driver’s license. The

North Carolina Division of Motor Vehicles denied his application based on his outstanding

warrant.

          223.   Mr. Sifford hired an attorney to clear his record.

          224.   On October 25, 2022, his case was dismissed due to its age and the failure to

serve the warrant. With his case resolved, he was able to get his commercial driver’s license.

          225.   On July 7, 2023, however, Mr. Sifford was pulled over in Belmont, NC, for

having a dark license-plate cover.

          226.   Officers told Mr. Sifford that his old warrant still appeared “active” in eWarrants.

          227.   Mr. Sifford was arrested and held for more than 48 hours in the Gaston County

jail.

          228.   Although his case has been formally expunged, he carries his dismissal paperwork

everywhere.




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                           VI.     CLASS ACTION ALLEGATIONS

       229.    Plaintiffs bring this action pursuant to Rule 23(a) and Rules 23(b)(2), 23(b)(3) of

the Federal Rules of Civil Procedure on behalf of themselves and the following three classes:

               Overdetention Class: All individuals in the State of North Carolina
               who, beginning on and including February 13, 2023, and due to
               Defendants’ adoption, implementation and design of eCourts
               (including eWarrants), were released from jail more than two (2)
               hours after the basis for their detention ended. The named
               representatives for this class are Sarah Fields, Sayeline Nunez,
               Thomas Hayward, and Paulino Castellanos.

               Wrongful Arrest Class: All individuals in the State of North
               Carolina who, beginning on and including July 1, 2022, were
               arrested or detained pursuant to warrants that would not have been
               issued but for Defendants’ adoption, implementation and design of
               eCourts (including eWarrants). The named representatives for this
               class are Kevin Spruill, Timia Chaplin, Rotesha McNeil, Qiana
               Robertson, Yousef Jallal, Messiejah Bradley, Dennis Keith Lassiter,
               and Allen Sifford.

               Injunctive Relief Class: All members of the Wrongful Arrest Class
               and the Overdetention Class. All Plaintiffs except Robert Lewis are
               named representatives for this class.

These classes are referred to as “Class” / “Classes.” Excluded from these Classes are Defendants

and any of their members, affiliates, parents, subsidiaries, officers, directors, employees,

successors, and assigns; government entities; Class counsel and their employees; and the judicial

officers and Court staff assigned to this case and their immediate families.

       230.    While the exact number of Class members cannot be determined, the Classes

consist of at least hundreds of individuals, making joinder impractical, in satisfaction of Rule

23(a)(1) of the Federal Rules of Civil Procedure. The exact number of Class members can

readily be ascertained by records maintained by Defendants.




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       231.   With respect to Rule 23(a)(2) of the Federal Rules of Civil Procedure, there are

questions of fact and law common to each of the Classes, including:

              a.      Whether the United States Constitution protects a detainee’s right to

                      comply with a preset bond and, thus, be released from confinement;

              b.      Whether the United States Constitution protects a detainee’s right to be

                      released from confinement once ordered released by a judicial official;

              c.      Whether the United States Constitution protects a detainee’s right to seek

                      release from confinement by moving for a bond reduction;

              d.      Whether the United States Constitution protects a detainee’s right to a

                      timely probable cause determination;

              e.      Whether the United States Constitution protects a detainee’s right to be

                      free from confinement based upon a warrant that was entered without

                      probable cause and with no other lawful basis;

              f.      Whether the United States Constitution protects a detainee’s right to be

                      free from confinement based upon the same warrant that was previously

                      served and satisfied;

              g.      Whether the rights alleged to be protected by the United States

                      Constitution set forth in common questions (a) through (f) above were

                      clearly established.

              h.      Whether the acts or omissions of the Defendant Sheriffs in connection

                      with adopting and implementing eCourts—including their policies,

                      practices and procedures regarding issuing and recalling warrants and

                      arresting people based on resolved warrants—were the proximate cause of

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                      the constitutional deprivations of Plaintiffs and the proposed Classes,

                      and/or whether these Defendants’ failure to properly train and supervise

                      their subordinates with respect to eCourts/warrants was the proximate

                      cause of the constitutional deprivations of Plaintiffs and the proposed

                      Classes.

               i.     Whether the Defendant Sheriffs’ implementation of their administrative

                      policies amounts to a policy of deliberate indifference and/or inaction to

                      the constitutional rights of Plaintiffs and the proposed Classes;

               j.     Whether the acts or omissions of the Defendant Clerks in connection with

                      adopting and implementing eCourts were the proximate cause of the

                      constitutional deprivations of Plaintiffs and the proposed Classes, and/or

                      whether these Defendants’ failure to properly train and supervise their

                      subordinates with respect to eCourts was the proximate cause of the

                      constitutional deprivations of Plaintiffs and the proposed Classes.

               k.     Whether Defendant Tyler Technologies owed a duty of care to Plaintiffs

                      and the proposed Classes;

               l.     Whether Defendant Tyler Technologies breached the duty of care it owes

                      to Plaintiffs and the proposed Classes; and

               m.     Whether Defendant Tyler Technologies’ breach of its ordinary duty of

                      care to Plaintiffs and the proposed Classes has proximately caused

                      damages.

       232.    With respect to Rule 23(a)(3) of the Federal Rules of Civil Procedure, Plaintiffs

have the same interests as all other members of the Classes they represent and Plaintiffs’ claims

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are typical of those of all members. Plaintiffs’ claims are coincident with and not antagonistic to

those of other Class members they seek to represent. The damages of each Class member were

caused by Defendants’ wrongful conduct.

          233.   With respect to Rule 23(a)(4) of the Federal Rules of Civil Procedure, Plaintiffs

have retained competent Class counsel experienced in constitutional, civil rights and class action

litigation, and Plaintiffs will fairly and adequately represent the interests of the Class members.

          234.   Class certification is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure because Defendants’ actions generally apply to the Classes as a whole and Plaintiffs

seek equitable remedies regarding the Classes as a whole.

          235.   Class certification is appropriate under Rule 23(b)(3) of the Federal Rules of Civil

Procedure because the common questions of law and fact enumerated above predominate over

questions affecting only individual members of the Classes, and a class action is the superior

method for fair and efficient adjudication of the controversy. The likelihood that individual

members of the Classes will prosecute separate actions is remote due to the time and expense

necessary to conduct such litigation. Plaintiffs’ counsel, experienced in constitutional, civil rights

and class action litigation, foresee little difficulty in the management of this matter as a class

action.

          236.   The members of the Classes are ascertainable from Defendants’ records and

Defendants possess contact information of members of each Class for class notice.




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                 VII.    CLAIMS AGAINST TYLER TECHNOLOGIES, INC.

                                 FIRST CLAIM FOR RELIEF
                          (Negligence Against Tyler Technologies, Inc.)

       237.      Plaintiffs re-allege and incorporate the preceding paragraphs as if set forth herein.

       238.      All Plaintiffs, on behalf of themselves individually as well as any Class to which

they belong, bring this claim against Defendant Tyler Technologies.

       239.      As a technology company specializing in the development of software that

digitizes court systems, Tyler Technologies owed a duty of reasonable care to Plaintiffs and each

Class to ensure that its eCourts system—which includes Odyssey and eWarrants—would operate

properly such that the rights of Plaintiffs and members of each Class to be free from unlawful

arrest and detention would and could be honored.

       240.      Tyler Technologies voluntarily assumed these duties when it decided and agreed

to develop the eCourts software applications on behalf of North Carolina and its citizenry,

including pursuant to its contract with the North Carolina Administrative Office of the Courts.

See Exhibit B.

       241.      These duties included:

                 a.     The duty to supply accurate information to end-users (or to develop

                        software applications that provide accurate information to end-users);

                 b.     The duty to ensure that eWarrants and Odyssey communicated with one

                        another so as to supply accurate information between and among the

                        applications, as well as to end-users of each application;

                 c.     The duty to ensure that eCourts and the end-users of eCourts properly

                        utilized any data and information entered into eCourts;


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                 d.     The duty to ensure that end-users of eCourts were properly trained on how

                        to use eWarrants and Odyssey;

                 e.     The duty to ensure that eCourts would be free of defects;

                 f.     The duty to ensure that end-users were timely notified of any defects; and

                 g.     In such further ways as may be shown by the evidence.

       242.      As Tyler Technologies warranted in its contract with NCAOC: “Tyler warrants

that the Tyler Software [eCourts] will perform without Defects during the term of this Contract.”

See Exhibit B.

       243.      But Tyler Technologies breached its duties. The eCourts software package is

replete with defects that led to the unlawful arrests and detentions suffered by Plaintiffs and each

Class. Put differently, Tyler Technologies’ breach brought about the actions of the governmental

actors that wrongfully arrested and detained Plaintiffs and members of each Class. Absent this

breach, these wrongful arrests and detentions would not have occurred.

       244.      Tyler Technologies knew or should have known that these defects in eCourts

would lead to unlawful arrests and detentions; and these defects did lead to the unlawful arrests

and detentions alleged herein, including those suffered by Plaintiffs, who should have been

released from custody or never taken into custody in the first place.

       245.      As a direct and proximate result of Tyler Technologies’ negligence, either

singularly or in concert with the other Defendants named herein, Plaintiffs and each Class have

suffered needless and prolonged arrests and detentions resulting in the damages pled herein.

       246.      Tyler Technologies is additionally liable in negligence to Plaintiffs and each Class

for the independent reason that it provided inadequate warning under N.C.G.S. § 99B-5. Tyler

Technologies acted unreasonably in failing to warn its co-Defendants, those adopting and

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implementing eCourts, and the general public that eCourts could and would result in unlawful

arrests and detentions even if properly utilized by the intended end-users. This failure was a

proximate cause of the harms alleged herein. And at the time eCourts left the control of Tyler

Technologies, the software package created an unreasonably dangerous condition that Tyler

Technologies knew or should have known or became aware would pose a substantial—if not

certain—risk of harm to a reasonably foreseeable claimant: namely, Plaintiffs and each Class.

                     VIII. CLAIMS AGAINST SHERIFF DEFENDANTS

                               SECOND CLAIM FOR RELIEF
                          (Negligence Against All Sheriff Defendants)

        247.    Plaintiffs re-allege and incorporate the preceding paragraphs as if set forth herein.

        248.    Plaintiffs Sarah Fields, Sayeline Nunez, and Thomas Hayward, on behalf of

themselves individually and the Overdetention Class, bring this claim against Defendant Sheriff

McFadden in his official capacity.

       249.     Plaintiffs Kevin Spruill, Timia Chaplin, Rotesha McNeil, Qiana Robertson,

Yousef Jallal, Messiejah Bradley, and Dennis Keith Lassiter, on behalf of themselves

individually and the Wrongful Arrest Class, bring this claim against Defendant Sheriff Rowe in

his official capacity.

        250.    Plaintiff Paulino Castellanos, on behalf of himself individually and the

Overdetention Class, brings this claim against Sheriff Estes in his official capacity.

        251.    Defendants Sheriff McFadden, Rowe and Estes are collectively referred to as the

“Sheriff Defendants.”

        252.    The Sheriff Defendants have waived immunity for this claim by the purchase of

insurance.


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       253.    The Sheriff Defendants had the following duties:

               a.     To identify warrants issued in their respective counties and appearing in

                      eWarrants that were invalid;

               b.     To not enforce warrants issued in their respective counties that they had

                      identified as invalid;

               c.     To confirm the validity of warrants in the Odyssey system before arresting

                      individuals on a warrant; and

               d.     To ensure that individuals are not held unnecessarily in the jails and other

                      facilities they supervise.

       254.    The Sheriff Defendants were negligent and breached duties owed to Plaintiffs in

the following respects:

               a.     They failed to identify in the eWarrants system those warrants issued in

                      their respective counties that were invalid;

               b.     They failed to confirm the validity of warrants prior to arresting

                      individuals pursuant to a warrant;

               c.     They repeatedly enforced and executed invalid warrants;

               d.     They failed to implement systems to ensure that individuals ordered

                      released or who had otherwise satisfied conditions of release, would be

                      released in a timely fashion;

               e.     They repeatedly detained individuals for over two hours beyond the time

                      they had been ordered released or otherwise satisfied their conditions of

                      release; and

               f.     In such further ways as may be shown by the evidence.

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       255.      The Sheriff Defendants, as the principals for their agents, are responsible under

respondeat superior for negligence committed by their employees or agents in the course and

scope of their employment.

       256.      As a direct and proximate result of the Sheriffs Defendants’ negligence, Plaintiffs

and members of the Overdetention Class and the Wrongful Arrest Class were wrongfully

arrested and detained.

       257.      As a direct and proximate result of this unlawful conduct, Plaintiffs and members

of the Overdetention Class and the Wrongful Arrest Class sustained damages.

                              THIRD CLAIM FOR RELIEF
     (Violation of 42 U.S.C. § 1983 and Monell Against Defendant Sheriff McFadden)

       258.      Plaintiffs re-allege and incorporate the preceding paragraphs as if set forth herein.

       259.      Plaintiffs Sarah Fields, Sayeline Nunez, and Thomas Hayward, on behalf of

themselves individually and the Overdetention Class, bring this claim against Defendant Sheriff

McFadden in his official capacity.

       260.      Sheriff McFadden is responsible for overseeing the operation of the Mecklenburg

County Detention Center (“MCDC”).

       261.      In this role, Sheriff McFadden is responsible for compliance with court orders for

release of MCDC inmates.

      262.       Sheriff McFadden, through his policies, customs, practices, omissions, and

failures to train, violated Plaintiffs’ rights under the Fourth and Fourteenth Amendments of the

United Stated Constitution.

      263.       Plaintiffs had a constitutional right to be free from unlawful detention and

overdetention.

      264.       Sheriff McFadden was on notice of the likelihood of overdetentions based on
                                                  38




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lawsuits filed in other states, the rollout of eCourts in the initial four pilot counties in North

Carolina, and meetings with stakeholders in Mecklenburg County.

       265.     Prior to the rollout of eCourts in Mecklenburg County, Sheriff McFadden in

meetings with stakeholders, including the District Attorney and Public Defender, expressed

concerns about whether his staff would be able to operate the new electronic system.

       266.     Still, Sheriff McFadden failed to implement a failsafe system, such as a paper-

based process to notify jail staff of a release order that could be transferred with inmates to the

MCDC.

        267.    The delays in release began immediately upon the rollout of eCourts in

Mecklenburg County.

        268.    Sheriff McFadden knew that because of defects in eCourts, many defendants who

had been ordered released were continuing to be held in custody.

        269.    Specifically, Sheriff McFadden was aware that because of an “integration issue”

between eWarrants and Odyssey, orders of release were not being communicated in a timely

manner to officials at the MCDC.

        270.    Sheriff McFadden was on notice of delays in release of individuals housed at the

MCDC no later than October 9, 2023, when Plaintiff Sarah Fields was held for 25.5 hours after

the time she was ordered released.

        271.    The following day, Plaintiff Sayeline Nunez was ordered released from detention,

but was likewise held for roughly 26.5 hours after the time her release was ordered.

        272.    During the first four days following the launch of eCourts in Mecklenburg

County, and due to these technological defects, approximately 66 people were detained well

beyond the point their conditions of release were satisfied.

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       273.    In an interview just weeks after the roll out, Sheriff McFadden acknowledged that

“[t]he wait times are much longer ”. . . . We are getting calls from citizens. We’re inundated with

people from the community worried about when the person is going to be released.”2

       274.    Prior to eCourts, it would take, upon information and belief, anywhere from 2-4

hours for a detainee in Mecklenburg County to be released.

       275.    Sheriff McFadden attributed the delays to inadequate training for his staff as well

as glitches and crashes in the system.

       276.    These delays in release have continued. On December 4, 2023, Plaintiff Thomas

Hayward posted bond for his release. Nevertheless, Mr. Hayward was held in detention for

approximately 14.5 hours after posting bond.

      277.     Sheriff McFadden failed to adequately train his employees on the Odyssey and

eWarrants systems and how to use those systems to ensure that individuals were timely released

from detention.

      278.     Sheriff McFadden’s policies, customs, practices, omissions, and failures to train,

as related to the adoption and implementation of eCourts, caused Plaintiffs and members of the

Overdetention Class to be detained after the time they were ordered released.

      279.     As a direct and proximate result of this unlawful conduct, Plaintiffs and members

of the Overdetention Class sustained the damages herein alleged.




2
 Naomi Kowles, Wrongfully in jail: Ecourts issues mount in Mecklenburg County, WBTV,
October 27, 2023.
                                             40




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                               FOURTH CLAIM FOR RELIEF
          (Violation of 42 U.S.C. § 1983 and Monell Against Defendant Sheriff Rowe)

       280.     Plaintiffs re-allege and incorporate the preceding paragraphs as if set forth herein.

       281.     Plaintiffs Kevin Spruill, Timia Chaplin, Rotesha McNeil, Qiana Robertson,

Yousef Jallal, Messiejah Bradley, and Dennis Keith Lassiter, on behalf of themselves

individually and the Wrongful Arrest Class, bring this claim against Defendant Sheriff Rowe in

his official capacity.

       282.     Sheriff Rowe is responsible for the issuance of criminal warrants in Wake

County.

       283.     Sheriff Rowe, through his policies, customs, practices, omissions, and failures to

train, violated Plaintiffs’ rights under the Fourth and Fourteenth Amendments of the United

Stated Constitution.

       284.     Plaintiffs had a constitutional right to be free from unlawful search, seizure and

detention.

       285.     Sheriff Rowe knew that because of defects in eCourts, invalid bond orders and

invalid warrants issued in Wake County remained “active” in the eWarrants system.

       286.     Sheriff Rowe knew of these defects as early as February 13, 2023, the date of the

eCourts rollout, when non-plaintiff Christopher Clegg was sentenced to time served but was

nevertheless not released from the Wake County jail. Mr. Clegg was returned to court one week

later and resentenced on the same charge—again to time served. He was held nearly a month

after his initial plea and was not released until March 9, 2023.

       287.     Prior to his release date, Wake County Public Defenders informed Sheriff Rowe

and the Wake County Clerk’s office that Mr. Clegg was being over detained as a result of a

defect in eCourts.
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      288.     Sheriff Rowe was also on notice that individuals were being unlawfully arrested

by law enforcement officers based on invalid Wake County warrants.

      289.     Sheriff Rowe knew of wrongful arrests based on invalid warrants no later than

March 4, 2023, when Plaintiff Kevin Spruill was wrongfully detained on an invalid Wake

County warrant. The wrongful arrests of Plaintiff Timia Chaplin on April 9, 2023, and of

Plaintiff Rotesha McNeil on May 29, 2023, also put Sheriff Rowe on notice that Wake County

Sheriff’s Office deputies and other officers were arresting individuals on invalid Wake County

warrants.

      290.     By April 2023, the Wake County Public Defender’s office had also notified

Sheriff Rowe and the Wake County Clerk of Court that individuals were being wrongfully

arrested on cleared warrants because of defects in the eCourts software.

      291.     Still, Sheriff Rowe failed to institute a policy to identify all invalid Wake County

warrants in the eWarrants system.

      292.     Sheriff Rowe also had a policy, practice and custom of arresting individuals

pursuant to invalid Wake County warrants, without first confirming their validity.

      293.     Sheriff Rowe failed to adequately train his employees on the Odyssey and

eWarrants systems and how to use those systems to confirm the validity of outstanding Wake

County warrants.

      294.     The failure to identify invalid Wake County warrants or to confirm the validity of

warrants in the eWarrants system caused the illegal arrests and detentions of Plaintiffs Kevin

Spruill, Timia Chaplin, Rotesha McNeil, Qiana Robertson, Yousef Jallal, Messiejah Bradley,

Dennis Keith Lassiter, and other members of the Wrongful Arrest Class in Wake County.

      295.     Sheriff Rowe’s policies, customs, practices, omissions, and failures to train, as

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related to the adoption and implementation of eCourts, caused Plaintiffs and members of the

Wrongful Arrest Class in Wake County to be searched, seized, and detained without a lawful

basis.

         296.     As a direct and proximate result of this unlawful conduct, Plaintiffs and members

of the Wrongful Arrest Class in Wake County sustained the damages herein alleged.

                                 FIFTH CLAIM FOR RELIEF
                     (Action On Official Bond Against the Sheriff Defendants)

         297.     Plaintiffs re-allege and incorporate the preceding paragraphs as if set forth herein.

         298.     At the time of the events alleged herein, the Sheriff Defendants were principals on

official bonds.

         299.     Defendant Sheriff McFadden was the principal on an official bond issued by

Defendant John Doe Surety.

         300.     Defendant Sheriff Rowe was the principal on an official bond issued by

Defendant The Ohio Casualty Insurance Company in the amount of $20,000 per occurrence.

         301.     Defendant Sheriff Estes was the principal on an official bond issued by Defendant

The Ohio Casualty Insurance Company in the amount of $25,000 per occurrence.

         302.     Defendant John Doe Surety joined with Defendant Sheriff McFadden as the

surety on his official bond and thereby undertook to be jointly and severally liable for the failure

of Sheriff McFadden to faithfully perform the duties of his office as the Sheriff of Mecklenburg

County.

         303.     The Ohio Casualty Insurance Company joined with Defendant Sheriffs Rowe and

Estes as the surety on their official bonds and thereby undertook to be jointly and severally liable

for the failure of these Defendants to faithfully perform the duties of their offices as the Sheriffs

of Wake County (Rowe) and Lee County (Estes).
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        304.    The Sheriff Defendants’ bonds were in full force and effect when Plaintiffs and

the Classes were injured as alleged herein.

        305.    Plaintiffs incorporate by reference the following claims for relief against the

Sheriff Defendants and bring them independently against the Sheriff Defendants’ official bonds

as if fully set forth in this the Fifth Claim for Relief:

                a.      The Second Claim for Relief (Negligence Against All Sheriff

                        Defendants);

                b.      The Third Claim for Relief (Violation of 42 U.S.C. § 1983 and Monell

                        Against Defendant Sheriff McFadden); and

                c.      The Fourth Claim for Relief (Violation of 42 U.S.C. § 1983 and Monell

                        Against Defendant Sheriff Rowe).

        306.    At the time of the events alleged herein, the Sheriff Defendants were acting by

virtue or under the color of their offices as Sheriffs.

        307.    The Sheriff Defendants, Defendant John Doe Surety, and Defendant The Ohio

Casualty Insurance Company are jointly and severally liable to Plaintiffs and the Classes,

pursuant to N.C.G.S. §§ 58-76-5.

                      IX.     CLAIMS AGAINST CLERK DEFENDANTS

                                SIXTH CLAIM FOR RELIEF
                 (False Imprisonment Against Clerk Defendants, Individually)

        308.    Plaintiffs re-allege and incorporate the preceding paragraphs as if set forth herein.

        309.    Plaintiffs Sarah Fields, Sayeline Nunez, and Thomas Hayward, on behalf of

themselves and the Overdetention Class, bring this claim against Defendant Elisa Chinn-Gary,

the Mecklenburg County Clerk of Superior Court.


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       310.    Plaintiffs Kevin Spruill, Timia Chaplain, Rotesha McNeil, Qiana Robertson,

Yousef Jallal, Messiejah Bradley, and Dennis Keith Lassiter, on behalf of themselves

individually and the Wrongful Arrest Class, bring this claim against Defendant Blair Williams,

the Wake County Clerk of Superior Court.

       311.    Plaintiff Paulino Castellanos, on behalf of himself and the Overdetention Class,

brings this claim against Defendant Susie K. Thomas, the Lee County Clerk of Superior Court.

       312.    Defendants Elisa Chinn-Gary, Blair Williams and Susie K. Thomas (collectively,

“Clerk Defendants”) are sued in their individual capacities under this claim.

       313.    In their respective counties, the Clerk Defendants are responsible for:

               a.      Executing all clerical and record-keeping functions of the superior and

                       district courts, including through Odyssey and related software;

               b.      Issuing arrest orders and warrants, including for “failures to appear”;

               c.      Digitizing paper court records;

               d.      Ensuring that release orders are properly effectuated;

       314.    The Clerk Defendants were intimately involved in the adoption of eCourts in their

respective counties, working directly with Tyler Technologies, the North Carolina

Administrative Office of the Courts, local law-enforcement, and other stakeholders to facilitate

the transition from paper to digital records.

       315.    The Clerk Defendants were aware that the implementation of Odyssey in other

states led to unlawful detentions and arrests prior to the roll-out of eCourts in North Carolina.

       316.    The Clerk Defendants had notice that North Carolina’s eCourts system presented

similar defects as early as February 13, 2023, and certainly no later than March of that year.




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        317.    Clerk Chinn-Gary was also aware of the experiences of the four “pilot”

counties—Wake, Lee, Johnston, and Harnett—which adopted eCourts more than six months

prior to Mecklenburg County.

        318.    Nevertheless, the Clerk Defendants failed to maintain accurate electronic case

records, identify and or remove invalid warrants from Odyssey and eWarrants, confirm that

arrest orders for “failures to appear” were not issued in error, and ensure that release orders were

properly effectuated.

        319.    Shortly after eCourts launched in Mecklenburg County, for example, Clerk

Chinn-Gary became aware that release orders were getting “stuck,” preventing release orders

from being signed and then finalized in the Ecourts systems. Clerk Chinn-Gary failed to rectify

this issue, allowing significant delays in release to continue.

        320.    By this conduct, the Clerk Defendants caused Plaintiffs to be unlawfully detained

against their will.

        321.    The Clerk Defendants acted with recklessness and manifest indifference to the

consequences of their conduct, amounting to willful and wanton disregard for Plaintiffs’ rights.

        322.    The Clerk Defendants further acted contrary to their duties and outside the scope

of their authority.

        323.    As a direct and proximate result of this unlawful conduct, Plaintiffs sustained the

damages alleged herein.

        324.    Routine case management—scanning and filing documents; checking boxes on

electronic interfaces; relaying the contents of an order—is nonjudicial behavior that is not

normally performed by a judge in North Carolina. Rather, it is administrative and ministerial

activity that does not involve the exercise of discretion or judgment.

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                            X.      INJUNCTIVE RELIEF CLAIMS

                             SEVENTH CLAIM FOR RELIEF
 (Injunctive Relief Against All Sheriff Defendants, All Clerk Defendants, Defendant Boyce
                                  and Defendant Fowler)

       325.     Plaintiffs re-allege and incorporate the preceding paragraphs as if set forth herein.

       326.     Defendant Ryan Boyce (“Director Boyce”) is the Executive Director of the North

Carolina Administrative Office of the Courts (“NCAOC”).

       327.     Defendant Brad Fowler (“Mr. Fowler”) is employed as the eCourts Executive

Sponsor and Chief Business Officer of the North Carolina Administrative Office of the Courts.

       328.     All Plaintiffs, on behalf of themselves and the Injunctive Relief Class, bring this

claim for permanent injunctive relief against the Sheriff Defendants, the Clerk Defendants,

Defendant Director Boyce and Defendant Mr. Fowler (collectively, the “Injunctive Relief

Defendants”).

       329.     The Injunctive Relief Defendants are all sued in their official capacities.

       330.     As alleged herein, Plaintiffs and the Injunctive Relief Class have suffered and will

continue to suffer unconstitutional deprivations of their liberty interests caused by the Injunctive

Relief Defendants’ adoption and implementation of administrative policies in connection with

the ongoing use of the defective eCourts system.

       331.     Under 42 U.S.C. § 1983, the Injunctive Relief Defendants’ administrative policies

constitute a policy or custom of inaction and a policy or custom amounting to deliberate

indifference to the Fourth and Fourteenth Amendment rights of Plaintiffs and the Injunctive

Relief Class.




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       332.    The deprivations of liberty interests suffered by Plaintiffs and the Injunctive

Relief Class constitute irreparable injury such that remedies available at law, including monetary

damages, are inadequate to fully compensate for such injury.

       333.    The Injunctive Relief Defendants’ unconstitutional administrative policies are a

continuing policy and practice and therefore subject Plaintiffs and the Injunctive Relief Class, as

well as the public in North Carolina at large, to ongoing risk of deprivations of their

constitutional rights. This ongoing risk is evidenced, at minimum, by the fact that similar liberty

deprivations are now occurring in Mecklenburg County (which adopted eCourts on October 9,

2023), nearly 8 months after the deprivations identified in this Complaint began.

       334.    Considering the balance of hardships between the parties, and the Injunctive

Relief Defendants’ indifference towards the egregious violations of Plaintiffs’ liberty interests, a

permanent injunction against the Injunctive Relief Defendants is warranted.

       335.    Specifically, the permanent injunction should require the Injunctive Relief

Defendants to adopt failsafe procedures that would prevent Fourth and Fourteenth Amendment

violations akin to those suffered by Plaintiffs and the Injunctive Relief Class as alleged herein.

       336.    Such a permanent injunction would serve the public interest by preventing the

Injunctive Relief Defendants from continuing to subject Plaintiffs, the Injunctive Relief Class,

and the public to unconstitutional deprivations of liberty.




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                                 XI.      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs and the Classes pray for the following judgment:

        A.     An Order finding in favor of Plaintiffs and the Classes on all causes of action

               alleged herein;

        B.     An Order certifying that this action may be maintained as a class action,

               appointing Plaintiffs and their counsel as Lead Plaintiffs and Class Counsel to

               represent the Classes, and directing that reasonable notice of this action be given

               by Defendants to all class members;

        C.     The grant of any reasonable request to amend Plaintiffs’ operative Class Action

               Complaint to conform to the discovery and evidence obtained in this class action

               lawsuit;

        D.     Compensatory damages;

        E.     Special damages;

        F.     Equitable relief, including the injunctive relief requested herein;

        G.     An award of attorney’s fees and costs and expenses, as provided by law;

        H.     Pre- and post-judgment interest at the highest rate allowed by law; and

        H.     Such other and further relief as this Court may deem just, equitable, or proper.

                                       XII.   JURY DEMAND

        Plaintiffs and the Classes demand a trial by jury of the claims asserted in this complaint

so triable.




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                                XIII. REQUEST TO AMEND

       Should any Defendants move to dismiss this Complaint, and should the Court grant any

such motion, Plaintiffs request that such dismissal be without prejudice and that they be granted

an opportunity to amend to address the deficiencies identified in the Court’s ruling, if possible.

       Respectfully submitted this the 26th day of February, 2024.

                                                      /s/ Gagan Gupta__________________
                                                      Gagan Gupta (NCSB #: 53119)
                                                      Email: ggupta@tinfulton.com
                                                      Abraham Rubert-Schewel (NCSB #: 56863)
                                                      Email: schewel@tinfulton.com
                                                      Zachary William Ezor (NCSB #: 55070)
                                                      Email: zezor@tinfulton.com
                                                      TIN FULTON WALKER & OWEN PLLC
                                                      119 Orange Street
                                                      Durham, NC 27701
                                                      Telephone: (919) 307-8400

                                                      Akeeb Dami Animashaun
                                                      355 S Grand Avenue, Suite 2450
                                                      Los Angeles, CA 90071
                                                      Telephone: (929) 266-3971
                                                      Email: dami@animashaun.me

                                                      Counsel for Plaintiffs on behalf of
                                                      themselves and all others similarly situated




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                                 CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the attorney is, and at all times hereinafter
mentioned was, more than eighteen (18) years of age; and that on this day, copies of the
foregoing will be served on the following by electronic mail or by the Court’s Case Management
/ Electronic Case Filing (“CM/ECF”) system:

       Robert Lane                                    Gregory L. Skidmore
       WAKE COUNTY SHERIFF’S OFFICE                   ROBINSON BRADSHAW
       330 S. Salisbury Street                        101 N. Tryon Street, Suite 1900
       Raleigh, NC 27602                              Charlotte, NC 28246
       Telephone: (919) 856-5380                      Telephone: (704) 377-8144
       Email: robert.lane@wake.gov                    Email: gskidmore@robinsonbradshaw.com

       Roger A. Askew                                 Hampton Hunter Brown
       WAKE COUNTY ATTORNEY’S OFFICE                  ROBINSON BRADSHAW
       P.O. Box 550                                   1450 Raleigh Road, Suite 100
       Raleigh, NC 27602                              Chapel Hill, NC 27517
       Telephone: (919) 856-5500                      Telephone: (919) 328-8800
       Email: roger.askew@wakegov.com                 Email: hbruton@robinsonbradshaw.com

       Counsel for Defendant Willie R. Rowe           Garrett Steadman
                                                      ROBINSON BRADSHAW
                                                      101 N. Tryon Street, Suite 1900
       James R. Morgan, Jr.                           Charlotte, NC 28246
       WOMBLE BOND DICKINSON (US) LLP                 Telephone: (704) 377-8179
       One West Fourth Street                         Email: gsteadman@robinsonbradshaw.com
       Winston-Salem, NC 27101
       Telephone: (336) 721-3710                      Counsel for Defendant Tyler Technologies,
       Email: Jim.Morgan@wbd-us.com                   Inc.

       Nicholas David Acevedo
       WOMBLE BOND DICKINSON (US) LLP
       197 Merrimont Drive
       Winston-Salem, NC 27106
       Telephone: (908) 329-0300
       Email: nick.acevedo@wbd-us.com

       Counsel for Defendant Brian Estes



                * * * Additional Counsel and Signature Block Appear on Next Page * * *




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       Frederick M. Thurman, Jr.
       SCHUMAKER, LOOP & KENDRICK, LLP
       101 S. Tryon Street, Suite 2200
       Charlotte, NC 28280
       Telephone: 704-375-0057
       Email: fthurman@slk-law.com

       Counsel for Defendant The Ohio Casualty Insurance Company


       Elizabeth Curran O’Brien
       NORTH CAROLINA DEPARTMENT OF JUSTICE
       P.O. Box 629
       Raleigh, NC 27602
       Telephone: (919) 716-0091
       Email: eobrien@ncdoj.gov

       Counsel for Defendants North Carolina Administrative Office of the Courts, Ryan Boyce,
       Brad Fowler, Blair Williams and Susie K. Thomas

        The undersigned attorney certifies under penalty of perjury that the forgoing is true and
correct.

       This the 26th day of February, 2024.

                                                     /s/ Gagan Gupta__________________
                                                     Gagan Gupta (NCSB #: 53119)

                                                     Counsel for Plaintiffs on behalf of
                                                     themselves and all others similarly situated




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